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                      EXHIBIT A
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                           west virginia department of environmental protection
                                                                          Austin Caperton, Cabinet Secretary
601 57 th Street, S.E.                                                                          dep.wv.gov
Charleston, WV 25304
(304) 926-0460




                                     CONSENT ORDER
                                      ISSUED UNDER
                         WEST VIRGINIA CODE, CHAPTER 22, ARTICLE 6

TO:      Diversified Gas & Oil Corporation                      DATE: 11-19-18
         1100 Corporate Drive
         Birmingham, AL 35242                                   ORDER NO.: 2018-22

         Diversified Resources, Inc.
         1100 Corporate Drive
         Birmingham, AL 35242

         Alliance Petroleum Corporation
         4150 Belden Village Avenue NW
         Suite 410
         Canton, OH 44718

         Core Appalachia Operating, LLC
         414 Summers Street
         P.O. Box 6070
         Charleston, WV 25362

                                           I. INTRODUCTION

       This Consent Order (hereinafter "Order") is entered into by the Office of Oil and Gas
(hereinafter "OOG"), by and through its Chief, pursuant to the authority of W. Va. Code §§ 22-
1-1, 22-6-1 and 22-6A-1 et seq. and Diversified Gas & Oil Corporation, Diversified Resources,
Inc., Alliance Petroleum Corporation, and Core Appalachia Operating, LLC (hereinafter
"Diversified" or "Operator"), collectively the "Parties."

                                         II. FINDINGS OF FACT

      In support of this Order, the Chief hereby makes the following findings:




                                  Promoting a healthy environment.
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     1. OOG, an office within the West Virginia Department of Environmental Protection, is
        the agency with the duty and authority to execute and enforce W.Va. Code § 22-6-1
        et seq., and the rules and regulations promulgated thereunder.

     2. Diversified Resources, Inc. ("DRI") is a West Virginia corporation, registered to do
        business in West Virginia that engages in oil and gas extraction activities in West
        Virginia. DRI's business address is 1100 Corporate Drive, Birmingham, Alabama
        35242. DRI is a wholly owned subsidiary of Diversified Gas & Oil Corporation.

     3. Alliance Petroleum Corporation ("Alliance") is a Georgia corporation, registered to
        do business in West Virginia that engages in oil and gas extraction activities in West
        Virginia. Alliance's business address is 4150 Belden Village Avenue NW, Suite 410,
        Canton, Ohio 44718. Alliance is a wholly owned subsidiary of Diversified Gas & Oil
        Corporation.

     4. Core Appalachia Operating, LLC ("Core") is a Delaware corporation, registered to do
        business in West Virginia that engages in oil and gas extraction activities in West
        Virginia. Core's business address is P.O. Box 6070, Charleston, West Virginia
        25362. Core is a wholly owned subsidiary of Diversified Gas & Oil Corporation.

     5. Diversified Gas & Oil Corporation is a Delaware corporation with a business address
        of 1100 Corporate Drive, Birmingham, Alabama 35242, and is the parent of its
        subsidiaries, including DRI, Alliance and Core.

     6. Each of the entities described in Paragraphs 2-5 of these Findings of Fact 1s a
        "person" as defined by W.Va. Code§ 22-6-l(n).

     7. As of the entry of this Order, Diversified, through a series of recent transactions, is
        the "owner" of approximately 17,000 oil and gas wells located in West Virginia as
        those terms are defined by W.Va. Code§ 22-6-(1) and applicable statutes and rules.

     8. Following the sale and transfer of those oil and gas wells referenced above to
        Diversified, Diversified contacted the OOG with regard to the status of certain of
        those oil and gas wells.

     9. Specifically, Diversified contacted OOG regarding a number of wells contained
        within those recently acquired wells which are shut in and which have been non-
        producing wells for period of time, and some for a period of time sufficient to
        potentially meet the definition of an abandoned well as that term is defined at W.Va.
        Code§ 22-6-19.

      10. The parties agree that it is in the best interests of the state and its citizens that these
          wells be identified and that where a bona fide future use exists, wells should be
          placed back into production and/or should be placed into such other use as identified
          and approved by OOG, and that where no bona fide future use exists that such wells
          be plugged.

      11. The parties agree that Diversified requires sufficient time to identify those wells
          referenced above and further assess the viability of those wells and identify those
          wells which have the capacity for a bona fide future use and bring such wells back
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          into production or which require plugging and to further complete the plugging of
          those identified wells within a reasonable period of time.

      12. Further, the parties agree that the establishment of a schedule acceptable to the parties
          whereby Diversified commits to evaluate a certain number of oil and gas wells
          referenced above and further commits to the plugging or bringing back into
          production of those oil and gas wells during a given calendar year is in the best
          interests of the parties.


                                  III.CONCLUSION OF LAW

  1. West Virginia Code § 22-1-6(d) requires, in part, that "(i]n addition to other powers,
     duties and responsibilities granted and assigned to the secretary by this chapter, the
     secretary is authorized and empowered to ... (3) Enter private lands to make surveys and
     inspections for environmental protection purposes; to investigate for violations of statutes
     or rules which the department is charged with enforcing; to serve and execute warrants
     and processes; to make arrests; issue orders, which for the purposes of this chapter
     include consent agreements; and to otherwise enforce the statutes or rules which the
     department is charged with enforcing ... "

  2. West Virginia Code § 22-6-19 provides that " ... (a]ny well which is completed as a dry
     hole or which is not in use for a period of twelve consecutive months shall be resumed to
     have been abandoned and shall promptly be plugged by the operator in accordance with
     the provisions of this article, unless the operator furnishes satisfactory proof to the
     director that there is a bona fide future use for such well.,"

  3. West Virginia Code § 22-6-34(a) provides that "(a]ny person or persons, firm,
     partnerships
     partnership association or corporation who willfully violates any provision for this article
     or any rule promulgated thereunder shall be subject to a civil penalty not exceeding two
     thousand five hundred ($2,500). Each day a violation continues after notice by the
     division constitutes a separate offense ... "

                               IV. ORDER FOR COMPLIANCE

        After a full and complete negotiation of all matters set forth in this Consent Order, and
 upon mutual exchange of the covenants contained herein, the Parties desiring to avoid
 litigation and intending to be legally bound and further acting in good faith, it is hereby
 ORDERl;,,D by the Office of Oil and Gas and AGREED to by Diversified as follows:

      1. Authority. This Consent Order is an Order of the Office of Oil and Gas authorized
         and issued pursuant to W.Va. Code§§ 22-1-1 and 22-6-1 et seq.

      2. Offer to Enter Consent Order; Expiration; Acceptance. Until executed by the
         parties, this Consent Order constitutes a unilateral offer to enter into this Consent
         Order under the terms and conditions contained herein. This offer, and its terms and
         conditions, shall expire fourteen (14) calendar days from date specified on page one
         of this Consent Order. Acceptance requires returning an executed copy of this
         Consent Order to the Office of Oil and Gas prior to the expiration date. The Chief
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        reserves the right to withdraw this offer at any time. Only the Chief shall have the
        right to extend the expiration period beyond fourteen (14) days.

     3. Effect of This Consent Order. This Consent Order entered into by the Parties hereby
        replaces and supersedes any existing enforcement action and/or Orders issued relating
        to this subject matter specifically contained herein. The Operator hereby waives any
        right to appeal or contest this Consent Order. The Operator agrees to take all actions
        required by the terms and conditions of this Order and consents to and will not
        contest the Chiefs jurisdiction regarding this Consent Order.

     4. Findings and Conclusions. Diversified does not admit or agree to any of the factual
        or legal determinations and/or conclusions made by OOG in this Consent Order.
        However, Diversified, agrees not to challenge any finding or conclusion made by
        OOG in this Consent Order in any administrative, civil proceeding involving
        Diversified and OOG to enforce this Consent Order.

     5. Corrective Actions/Schedule: Diversified agrees to undertake the following actions:

        a. No later than December 31, 2019, Diversified agrees to identify and plug thirty
           (30) oil and gas wells that it determines are not capable of maintaining a bona fide
           future use, which actions taken by Diversified shall be summarized in a report
           submitted to the OOG no later than December 31, 2019.

        b. No later than June 30, 2019, Diversified shall complete an initial assessment of oil
           and gas wells for which no production was reported in the calendar year 2017
           now owned by Diversified in the state of West Virginia. Diversified shall provide
           a list of these wells buy that same date. With consultation with the OOG,
           Diversified shall have a further opportunity to perform additional assessments of
           wells and provide an amended, supplemental list on June 30, 2020 and each
           subsequent year thereafter based upon further review and analysis of available
           information, which list may further be modified from time to time as needed to
           add or remove wells.

            Oil and gas wells identified on this list shall not be subject to any further
            enforcement activities by the OOG with regard to any requirement to close and
            plug such wells based upon the lack of production in the most previous twelve
            months so long as Diversified is compliant with the terms and conditions of this
            Order, provided, the OOG retains the authority to enforce such other requirements
            as set forth in Paragraph 10 of Section IV of this Order below.

            No later than December 31, 2020 and continuing annually through calendar year
            ending December 31, 2034, Diversified shall provide to the OOG a report
            summarizing the actions taken to bring into production or plug oil and gas wells
            in West Virginia during the prior twelve month period. During each calendar year
            ended December 31, 2020 through December 31, 2034, Diversified shall either
            place into production or plug at least fifty (50) oil and gas wells from the list
            referenced in Paragraph 5.b of Section IV of this Order, of which no less than
            twenty (20) of those oil and gas wells shall be plugged no later than December 31
            of the applicable year. Should there be a time when the number of wells to be
            plugged and/or produced as set forth in the list referenced herein is lesser than the
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            number of wells required to be plugged and/or produced in a given year by this
            Order, Diversified shall only be required to address those remaining wells during
            the calendar year in question.

        c. Diversified agrees to voluntarily obtain and maintain and submit to the OOG no
           later than thirty (30) days after the effective date of this Order, a bond valued at
           $3,000,000.00 to inure to the benefit of the state of West Virginia in a form
           acceptable to the OOG and in conformance with the requirements contained in the
           applicable statutes which bond shall be maintained until such time as the tasks set
           forth in Paragraph 5.a and 5.b of Section IV of this Order have been completed
           unless otherwise extended by agreement of the parties as set forth in Paragraph
           5.d of Section IV of this Order.

            The bond shall not be subject to the applicable bond forfeiture provisions of the
            W.Va. Code §§ 22-6-1 and 22-6A-1 et seq., and the applicable accompanying
            legislative rules, but shall only be subject to forfeiture upon a showing by the
            OOG that Diversified is in substantial noncompliance with the terms and
            conditions of this Order. Prior to any attempt to collect or demand forfeiture of
            the bond, the OOG shall provide notice to Diversified via certified mail thirty (30)
            days prior to taking any action to forfeit the bond stating the OOG's intent to
            commence proceedings to forfeit the proceeds of the bond. Said thirty (30) day
            notice period shall commence upon the signed receipt of the certified mail. Said
            notice shall further set forth the grounds for the forfeiture of the bond.
            Diversified reserves the right to challenge any such action by the OOG in a court
            of competent jurisdiction.

            In the event of a noncompliance with this Order, any demand by the OOG to
            forfeit/collect the proceeds of the bond shall be limited to the amount necessary to
            cure the alleged noncompliance. Any monies collected as a result of the partial or
            complete forfeiture of the bond shall be used by the OOG for the sole purpose of
            plugging wells identified in the list referenced in Paragraph 5.b of Section IV of
            this Order.

        d. Upon conclusion of the tasks set forth in Paragraph 5.a and 5.b of Section IV of
           this Order, the parties agree to evaluate whether further action is necessary or
           required to address further wells remaining on the list referenced above. This
           Order may be modified at such time upon agreement of the parties to address such
           wells.

     6. Stipulated Penalties. If the Operator fails to take any action required by this Order
        after notification by the OOG in writing, via certified mail to Diversified at the
        address contained herein, and following a reasonable time frame and opportunity to
        cure said failure which shall not be less than sixty ( 60) days, the Operator agrees to
        pay a stipulated penalty of two hundred and fifty dollars ($250.00) for each day that
        the action remains incomplete following completion of the time frame set to cure the
        deficiency upon written demand by the OOG, provided the time frame to cure such
        deficiency may be modified by agreement of the parties which agreement shall not be
        unreasonably withheld by the parties. Any such demand is subject to the provisions
        contained in Paragraph 12 of Section IV of this Order.
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         Diversified maintains the right to challenge such assessment and request a meeting
         and reconsideration of this demand with the Secretary of the WVDEP. Said request
         shall be in writing and mailed certified receipt requested to the Chief no later than
         thirty (30) days after receipt of such a demand by Diversified.

     7. Credits. Diversified may abate or commence production at more wells than the
        number of oil and gas wells specified for a specific year as set forth in Paragraph 5 of
        Section IV of this Order. If the operator abates or brings into production more wells
        than required per this Order for a particular year, a credit shall be established and may
        be applied to the following calendar year. Such assertion of the creation of a credit
        shall be made in the annual report provided to the OOG and referenced in Paragraph
        5 of Section IV of this Order. Provided, that in no calendar year shall Diversified
        plug less than ten (10) wells.

     8. Reservations of Rights. Nothing in the Order shall act as a bar to the enforcement of
         any other legal obligation of Diversified by OOG, except with regard to the matters
         specifically addressed herein.

     9. Liability of the Operator. The Operator shall be liable for any violation of this
        Consent Order, including those caused by, contributed to, or allowed by its officers,
        directors, agents, employees, and caused or contributed by the negligence of its
        contractors and sub-contractors; provided, Diversified shall not be liable for acts of
        gross negligence or recklessness by its contractors and sub-contractors which result in
        a violation of this Consent Order,

      IO. Existing and Ongoing Obligations. Compliance with the terms and conditions of
          this Order shall not in any way be construed as relieving the Operator of any
          obligation to comply with any applicable law, permit, other order unrelated to the
          plugging and reclamation of wells identified in that certain list set forth in Paragraph
          5 of Section IV of this Order, or any other requirement otherwise applicable.
          Violations of the terms and conditions of this Order may subject the Operator to
          additional penalties and injunctive relief in accordance with other applicable law.

      11. Decisions Under Consent Order. Any decision which the OOG makes under the
          provisions of this Consent Order is not intended to be a final agency action, nor shall
          it rise to a contest case under Chapter 29A of the West Virginia Code (State
          Administrative Procedure Act).

      12. Force Majeure. If any event occurs which causes delay in the achievement of the
          requirements of this Order, the Operator shall have the burden of proving that the
          delay was caused by circumstance beyond its reasonable control which could not
          have been overcome by due diligence (i.e., force majeure). Force majeure shall not
          include delays caused or contributed to by the lack of sufficient funding. Within three
          (3) working days after the Operator becomes aware of such a delay, notification shall
          be provided to the Chief, and the Operator shall within thirty (30) working days after
          initial notification, submit a detailed written explanation of the anticipated length and
          cause of the delay, the measures taken and/or to be taken to prevent or minimize the
          delay, and a timetable by which the Operator intends to implement these measures. If
          the Chief agrees that the delay has been or will be caused by circumstances beyond
          the reasonable control of the Operator (i.e., force majeure), the time for performance
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        hereunder shall be extended for a period of time equal to the delay resulting from
        such circumstances. A force majeure amendment granted by the Chief shall be
        considered a binding extension of this Order and of the requirements herein.

        Should the Chief deny the force majeure event, Diversified maintains the right to
        request a meeting and reconsideration of this finding with the Secretary of the
        WVDEP. Said request shall be in writing and mailed certified receipt requested to
        the Chief no later than ten (10) days after such denial.

     13. Severability. The provisions of this Consent Order are severable and should a court
         or board of competent jurisdiction declare any provision to be invalid or
         unenforceable, all other provisions shall remain in full force and effect.

     14. Entire Agreement. This Consent Order shall constitute the entire agreement of the
         Parties. No prior or contemporaneous communications or prior drafts shall be relevant
         or admissible for purposes of determining the meaning or intent of any provision
         contained in this document in any litigation or proceeding.

     15. Attorney's Fees. The Parties shall bear their respective attorney fees, expenses and
         other costs in the prosecution or defense of this matter or any related matters arising
         prior to execution of this Consent Order. Following the execution of this Consent
         Order, any reasonable cost the OOG expends in enforcing the terms of or prosecuting
         the effect, administration, jurisdiction or other aspects of this Consent Order against
         the Operator, shall be paid by the Operator upon written demand by the OOG unless
         the Operator prevails on the merits in a court or judicial quasi-judicial board or entity
         of competent jurisdiction.

     16. Modifications. No changes, additions, modifications or amendments of this Order
         shall be effective unless they are set out in writing and signed by the Parties.

     17. Titles. A title used at the beginning of any paragraph of this Consent Order may be
         used to aid in the construction of that Paragraph, but shall not be treated as
         controlling.

     18. Signatories. The signatories to this Order assert they have the authority to enter into
         this Order on behalf of the respective Parties.

     19. Successors. This Order shall be binding upon the parties, and their successors and
         assigns.

     20. Sale of Assets. Nothing in this Order shall be deemed as limiting or prohibiting the
         sale or transfer of wells, whether identified by Diversified pursuant to the terms of
         this Order or not, to a qualified party, provided, nothing in this Order shall be
         construed as waiving any right or duty of the OOG to review any request for the
         transfer of operator authority of any of wells.

     21. Termination. This Order shall terminate without prior notice or action upon
         completion of the requirements contained in Paragraph 5.a and 5.b of Section IV of
         this Order by Diversified unless otherwise extended as provided for in Paragraph 5 .d
         of Section IV of this Order.
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          Now, therefore, in accordance with Chapter 22, Article 6, Section 1 et seq. of the West
   Virginia Code, it is hereby AGREED between the Parties, and ORDERED by the Chief.




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   West Virginia Department of Environmental Protection
